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CLERK OF COURT

IN THE U.S. DISTRICT COURT

OF GUAM

13-00008

PAUL F. CANNON, CIVIL CASE NO. . = “e
Plaintiff, COMPLAINT FOR DAMAGES
vs. FOR NEGLIGENCE PURSUANT
TO THE FEDERAL TORT

DEPARTMENT OF THE NAVY, CLAIMS ACT;
UNITED STATES OF AMERICA; PREMISES LIABILITY
JOHN DOE INSURANCE CARRIER (NEGLIGENCE);

TO BE NAMED AFTER DISCOVERY;
and DOES 1-10, Inclusive,
Defendant.

NATURE OF THE ACTION

This is an action for negligence under The Federal Tort Claims Act for damages

to property and personal bodily injuries.
JURISDICTION AND VENUE

1. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1346(b) and
2671, ef. seq.

2. The acts and/or omissions complained of herein occurred within this
judicial district, specifically, Naval Station, Guam.

3. Before this action was instituted, the claims set forth herein were timely
presented to the Department of the Navy on or about September 13, 2012 based on

the allegations herein. By March 12, 2013, six months after submission of the claim,

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the agency had neither accepted nor rejected such claims and, pursuant to 28 USCA §
2675(a), Plaintiff considers such failure to act as a final denial of the claim. Therefore,

Plaintiff has exhausted all administrative remedies and timely filed this Complaint.

PARTIES
4. At all times mentioned herein, Plaintiff was and is a resident of Guam.
5. At all times mentioned herein, persons identified herein as employees or

agents of Defendants DEPARTMENT OF THE NAVY and UNITED STATES OF
AMERICA (hereinafter “NAVY” and "USA"), were acting for and at the direction of
Defendants NAVY and USA, and within the course and scope of such employment or
agency. As such, Defendants NAVY and USA are fully liable for all the acts of their
employees under the doctrine of Respondeat Superior.

6. Plaintiff believes and therefore alleges that Defendant JOHN DOE
INSURANCE CARRIER, a corporation doing business in Guam, issued or subscribed
to one or more primary or excess liability insurance policies, or both, providing
insurance covering some or all of Plaintiff's claims.

t Certain Defendants are sued herein as DOE Defendants because their
identities are not yet known. If and when such identities become known, Plaintiff will
name any such Defendants in the place and staid of said DOE Defendants.

8. Plaintiff is informed and believes and thereupon alleges, that each of said
Defendants, including the Doe Defendants, and their employees are jointly and
severally liable as the principal, officer, agent, master, servant, employer, employee and

partner of each of the other Defendants and was in doing the acts complained of

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herein, acting within the scope of his, her or its said agency, employment or
partnership.

9. Certain Defendants are sued herein as DOE Defendants because their
identities are not yet known. If and when such identities become known, Plaintiff will
name any such Defendants in the place and staid of said DOE Defendants.

PLAINTIFF'S CAUSE OF ACTION FOR NEGLIGENCE AGAINST DEFENDANTS
NAVY and USA and DOES 1-10, Inclusive

10. ‘Plaintiff repeats and reallege each and every previous paragraph of this
Complaint as though fully set forth here at length.

11. At all times mentioned herein, Defendants owned operated, controlled,
managed and maintained the premises known as Navy Commissary, Naval Station,
Guam (hereinafter, “the premises’).

12. Defendants invited persons, including the Plaintiff, to enter the premises
and to access, utilize and patronize the facilities and purchase products on the
premises of the Defendants, and were and are responsible for the maintenance and
safety of said Premises.

13. Onor about January 15, 2011, while Plaintiff was on the premises for the
purpose of accessing, patronizing and utilizing Defendants’ facilities and purchasing
Defendant's products, suddenly and without warning, Plaintiff slipped and fell on a
foreign slippery substance which had been spilled on an area of the premises without

notice, markings or warnings, and fell violently to the ground, causing Plaintiff to sustain

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serious injuries and damages as described further herein.

14. Defendants, as owners and operators of the premises, negligently:
a. Failed to maintain the premises in a reasonably safe condition:
b. Allowed this unreasonably dangerous condition to remain on the
surface of the premises when Defendants knew, or in the exercise of
reasonable care should have known, that the substance created an
unreasonable risk of harm to patrons, including the Plaintiff:
c. Failed to warn Plaintiff of the danger presented by the presence of the
unreasonably unsafe condition on the ground surface of the premises;
d. Failed to remedy or repair the ground surface of the premises; and
e. Failed to otherwise exercise due care with respect to the matters
alleged in this complaint.

15. As adirect and proximate result of the negligence of Defendants as set
forth above, Plaintiff slipped and fell while on the premises.

16. As a further direct and proximate result of the negligence of Defendants
as set forth above, Plaintiff sustained severe personal bodily injury and property
damages in the accident.

17. Asa further direct and proximate result of the negligence of Defendants
as set forth above, Plaintiff was and is forced to endure severe pain and suffering, loss
of enjoyment of life, mental and emotional injury and distress, lost earnings and medical
treatments and expenses.

18. As a further direct and proximate result of the negligence of Defendants

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as set forth above, Plaintiff may require future medical treatments and expenses with
the attendant pain and suffering, loss of enjoyment of life, mental and emotional injury
and distress, and lost earnings.

19. Based on the above, Plaintiff has been damaged in an amount to be
proven at trial.

SECOND CAUSE OF ACTION FOR DIRECT ACTION (NEGLIGENCE) AGAINST
DEFENDANT JOHN DOE INSURANCE CARRIER

20. ‘Plaintiff repeats and realleges each and every previous paragraph of this
Complaint as though fully set forth here at length.

21. ~~ At all times herein relevant, Certain Defendants sued herein as DOE
Defendants, were and are insured by a liability insurance policy issued by Defendant
JOHN DOE INSURANCE CARRIER, covering liability for the actions set forth herein.

22. Pursuant to the coverage contained in the policy which Defendant JOHN

DOE INSURANCE CARRIER issued to certain Defendants sued herein as DOE
Defendants, and pursuant to 22 GCA §18305, Plaintiff is entitled to maintain a direct
action against Defendant JOHN DOE INSURANCE CARRIER, upon the terms and
limits of the policy, and therefore, Plaintiff is entitled to recover against Defendant
JOHN DOE INSURANCE CARRIER in an amount equal to any judgment recovered
against certain Defendants sued herein as DOE Defendants, up to the limits of the

policy.

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PRAYER

WHEREFORE, Plaintiff prays for relief against the Defendants, and each of

them, as follows:

1, For damages in the amount to be proven at trial;

2. For costs of suit, attorney fees, and pre-judgment interest as applicable;

 

3; For such other and further relief as the Court deems just and proper.
Respectfully Submitted,
Dated: 3 / 3/ {3 LAW OFFICES OF MARK WILLIAMS, P.C.

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MARK WILLIAMS, ESQ.
Attorneys for Plaintiff

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